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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8                                                ***
9    UNITED STATES OF AMERICA,                        Case No. 2:13-cr-00185-MMD-VCF
10                                       Plaintiff,                   ORDER
11          v.
12   ROBERT C. BARROW,
13                                    Defendant.
14

15          Plaintiff sent a letter to the Court (dkt. no. 139). Plaintiff is admonished that ex

16   parte communications with a judge are inappropriate in most circumstances. See Local

17   Rules, Part II, LR 7-6. Moreover, pursuant to Local Rule IA 10-6, a party who is

18   represented by counsel may not appear or act in the case. Letters to a judge will be

19   disregarded, and the Court will not take any action in response to the letter.

20          DATED THIS 10th day of August 2015.

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22                                                      MIRANDA M. DU
                                                        UNITED STATES DISTRICT JUDGE
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